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' cnpy-m:___child wisdom

Weatherly Area School District ;S“§S;Fffc°““‘“‘"
REGISTRATION FORM (Please Prim) ~ _-

FOR OFFICE USE ONLY; '

 
 
  

 

 

 

 

_ _ ` G'rade /`] _ Homerooml
Ehuy 'Dgte '# 1 \ Entl_'y COde
Student ID ` _ t _Out of -I_)'is't_ri'_ct Plgcement _
PASecurelD _ Homeless x

 

 

 

 

 

 

 

 

 

Bus# " ‘ si¢p# ` mms " Pi¢kuprim¢ `
"B`irthdéte VeliiicaHon: v BVC\/d` .`Bapt.' " 'Hosp. R'egist`l"ation ` l _ VdiHeH by: ` ¥
Date Completed ` 5"' /t_;_' _/OZ ._

Student Name K; ` , , 5

mr " rim made

 

 

 

 

 

 

 

 

 

Student Date of Birth _ ,_ _
StudentAddress 3-"¢20 l ,\/£:G.-k./'C. , _ as +’ ,, . (A.»)'€'q`u_'lr€('l§‘ F/;"
Mailing Address (ifdiHerent) _ .. _   . _1 l
Home Phone ( . } - _, _ _ Cell ' _
smdemkesides with _|£9¢:1.¢-€-{¥‘§'.§ _ _ Relarionship _ m

 

 

Please provide the follqwing for federal and state reporting regulations:

   

 

 

 

nemowa .m':_'*`>~l~.¢>'f\ V_ 4 ` 2)sta1eoanm._',_j. z - z
3) Country ofB'u‘th U 53 . , 4) SS Number , _ ___ ‘
s)GradegEnuyDare_ _ , e)UsEnu;./Dare _ ._ v `
7) bare Firsr attend K-lz in PA _ _ s) mate Firs¢ attend K-12 in wA'sD §

h')- ELL

 

Sex (Clieck One): Male -Fema_lé-

 

For state and federal reporting requiremcms, use the following detinitions:

Select Prirna;ry Ethnicity (Choose One): m Hispmic/Latino (nny race)
E Non-Hispanic/Latino (any race)

RB.CB (Choose one or more, regardless of ethnicity)!EAmeT Ind/Algska Native EASiB.n EPacifiG ISlandcr
mCaucasian/Mlite E|Black/African American

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EIJJ:$HL §

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F-ath er

 

 

 

 

 

 

 

L£s{ `_, ` . " rest d '/'§ _' _ ` Midn'é.
Address l 330 y ¢‘-L`_Ki{, 'S+ 7 LJ_GC‘H\ ‘e(|'y F/_q' _ 1 _'
Home Phone Cell _ Work Phone
Mother , . 4 _ . . . , __
‘ Lasr Fim ‘ _ ' ' iddle Maid=n
Add-ress: 320__ )H,¢_U¢L<, S-P . wc¢%%rll{ Wi
Horne Phone l _ _ _ Cell { .. l 7 ,_____*_A `Work_ Phor_le .
Eme_rgency Contaet . w _ . . -
l.ast ` First ` ` ` Middle `
Relationship
Address _ _ , n , .
Home Phone. . Cell - _ Work Phone

To whom may the student be released? _m@m 0(. ha J -

Please answer the following questions:
l) Are you the student’s natural parent? YES . )(
If no, What is the relationship to the student?

NO

--~mm

 

 

2) Is the student court~ordered into any of the following?
Guard_ianship (1302) . Foster Care (1305) Group Home (1306)
Long-Tenn Care ` hidependent Living Emergency Shelter Care

 

 

Ifthe student is under court-order, provide the following information from the eourt-order. Letter from placing
agency should be provided if available

 

 

 

 

 

 

 

 

 

 

 

 

a) Who has eustody? y

Court order attached for dependenenyuardianship (not required except in YES NO ,

cases of divorcefseparation arrangements)

b) Who has guardianship? .

c) Who has educational rights?

3) Is the guardian receiving payment for providing horne for child? YES . NO . X .

4) Is the student in non-court ordered emergency shelter eare? YES . NO x

s) 15 the student in an infonnal foster cum seeing YEs No _ ¥
If yes, name the guardian: ., . _ . .
AFHdavit on Hle: YES NO 5

 

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List all persons residing in the same household as the student registering (Brothers, Sisters)
Birihdéf¢

Name

 

\HT __ t ` ___

s.-`¢-\

 

 

5 K»_

 

 

 

 

 

 

 

 

 

 

 

List all other individuals residing in your household (grandparents, aunts, uneles, friends, etc.}
Birthdate

Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WA.SD Registration 03/ 14/2012

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1) What' 15 the current educational placement grade for the stl.ldent‘? ri
Please provide copy of report card from 0min recent educational placement
Co_py Attaehed: YES

2) I_s the student _ide "tified as a student with special needs and being served with and Individualized Education
P.lan? ‘YES -- NO
3) Date of most recent IEP _ Copy Attached: YES NO

4) Beginning with the most reoent, list in order all previous schools that the student has attended:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of Sehool District Narne of Sohool Approximate Date _
rue/land mw . . f /< -" 714
5) Has the student previously attended school in WASD? Y'ES _ NO )(

 

 

If yes, list grade(s)

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Identi_ication must be presented at time of registrationl Parents must provide driver's license, PA ID card, or i
Automobile Registratio'n indicating district residence Guardian must provide copy of legal guardianship with
educational rights. If guardian does not have legal custody, the parent must be present to sign with z
identification

Type of Identiflcation: _ _ quy-attached (Check One): YES NO

 

 

The purpose of this request is to assure that the educational resources of the Weatherly Area School District are
properly and legally allocated. Falsiiication of any information or document required for residence veriEcation
or the use of the address of another person may result' 111 revocation of student enrollment In addition to the
above, at least one of the following document(s) must be presented:

`deed, mortgage, lease agreement or moving permit ;/

utility bills (does not include cell phone bill)

 

 

 

check stubs-from wages,' public assistance or social security l

 

. payment or liability of payment of municipal and school district taxes

 

 

 

 

Any Another relevant documents asked for by administration l l

 

Signature of Parenthuarditm i___Q. Lr_ _

Signature ongency Representative

 

 

Signature of Student
(lB years or elder/Emancipated)

 

 

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WEATHERLY AREA SCHOOL DI STRICT
6 02 SIXTH STREET
WEATHERLY, PENNSYLVANIA la 25 5

PAR.ENTAL REGIS_TRATION STATEME_NT

Student Name E;Z .§ girl _ _ . _
Date of Birth _ . 5_““<§?£/*'7? _ - \. Grade _ 7%
Pareht or Guardian Name _{:_ t d?

Address 330 _ ziqu _.S‘i' i/\/e 51441£_([_~}/_ h F/i"

Telephone Numbc.r _ _, _ __ ,__

~.

Pennsylvania Schocl Code Section 13-1304~A states in part "Prior to
admission to any school entity, the parent, guardian or other person
having control or charge of a student shall, upon registration, provide
a sworn statement or affirmation stating whether the pupil was
previously suspended gc expelled from any public or private school of
this commonwealth or any other state for an act of offense involving
weapons, alcohol or drugs, or for the wilful infliction of injury to
another person or for any act of violence committed on school property.

Please complete the following:

l hereby swear or affirm that my child was was not )<
previously suspended or expelled from any public or private school of
this Commonwealth or any other state for an act or offense involving
Weapons, alcohol or drugs, or for the wilful infliction of injury to
another person or for pay act of violence committed on school property.*
l make this statement subject to the penalties of-24 F.S. section
13-1304-A(bl and 18 Pa. C.S.A. Section 4904, relating to unsworn
falsification to authorities, and the facts contained herein arc true

and correct to the best of my knowledge, information and belief.

isignature of Parent`or Guardian|

5-/6-/2._

(Bat`el

 

 

* Name of the school from which student was suspended or expelled:
reason for-suspension/expulsion; and dates of suspension or expulsion.

(optional)

 

Any wilful false-statement made above shall be a misdemeanor of the
third degree. This form shall be maintained as part of the student's
disciplinary record.

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LEASE AG REEMENT

Tl'ilS LEASE AGREEMENT (herelnat’te[ referred to as the "Agreement"} made and entered into this 1_5_ day of
___May `. 2012 , by and between_. ,whose address is 501 E_ Schoo| t _c_,_----r
li~ygonsocb-§; 51 Q;)La_g§ [hereinafter referred to as "I_essor") and §

_F§;_ (herelnefter referred to as "i_essee")

 

 

 

 

1_;';,;lrr~iEssE'rH:

'r\»HEREAS_. Lessor is the fee owner of certain real property being, lying and situate in grow County.
rio_nr;syl\ianla, such real property is having a street address of 20 'Ye kie§t .` ` he "rr P/i.f _15301 ______

             

Wi-lEREAS, Lessor is desirous of leasing the Premises to Lessee upon the terms and conditions as contained
ilerein: and

_WHEREAS, i..essee is desirous of leasing the Prernises from Lessor on the terms and conditions as contained
nerein;

E~.tOW. THEREFORE, for and in consideration of the sum of TEN D'Ot.-L~ARS f$‘iO.-Dl.'l), the covenants and
obligations contained herein and other good and valuable consi¢:lerationl the receipt and sufficiency of which is
hereby acknowledged the parties hereto hereby agree as follows:

‘. TERM. Lessor leases to Lessee and Lessee leases from Lessor the above described Prernisss together with
any end all appurtenances thereto. for s term of Lyg year(s). such term beginning on 051'_$§/20:|2 , and ending
:'il 12 o’clock midnight on _ 05!14£2-914.

_-' FtEi~iT The total rent for tile term hereof is the sum of_li@ DOLLARS ($ N/A ).- .|n lieu of rent the l.essee

.- ,-. '.~.c upon taking care of the property {-minor repairs and lakln V`care oil e lawn rcutti . the dress snow

r¢._:_ r.ly§_i).- The home owner will provide or reimburse for materials ii and when necessaryl upon documentation
with r¢=¢¢~,eiptsl These repairs shall be made to Lessor at the address as set forth in the preamble to this
n;,-resment on or before the clue date and without demand

 

  

3. DAMAGE DEPOS|T. Upon the due execution of this Agreement, Lessee shall deposit with Lessor the sum of
__,_'\iiA ` DOI_LARS ($__t_]_) receipt of which is hereby acknowledged by Lessor. as security for any damage
caused to the Premises during the term hereof Such deposit shall be returned to Lessee, without interestl and
ii ss any set off for damages to the Prernises upon the termination of this Agreernent.

¢l USE OF PREMlSES. The Premises shall be used end occupied by Lessee and Lessee's immediate family,
exclusivelyl as a private single family dwelling, and no part of the Premisas shall be used at any time during the
term of this Agreemerrt by Lessee for the purpose of carrying on any business. profession cr trade of any l<lnd,
or for any purpose other than as a private single family dwelling Lessee shall not allow any other person, other
than L_essee's immediate family or transient relatives and friends who are guests of l_essee, to use or occupy
ina Premlses without first obtaining Lessor's written consent to such use. Lessee shall comply with any and all
lens ordinances, rules and orders of any and all governmental or quasi-governmental authorities affecting the
'=lor-iniiness, use. occupancy and preservation of the Premiscs.

r- t .ONDJT!ON DF PREM|SES, Lessee stipulatss, represents and warrants that Lessee has examined the
i-`-.-'s-mlscs, and that they are at the time of this l.ease and agrees to rent it in the as is condition

o. ASSlGNNlENT AND SUB-LETT|NG. l._essee shall not assign this Agreern ent, or sub-let or grant any license
to use the Premlses or any part thereof without the prior written consent cf Lessor. A consent by l_essor to one
such assignment sub-letting or license shall nut be deemed to be a consent to`any subsequent assignment
sub-letting or license An assignmentl sub-letting or license without the prior written consent oi i.essor or an

..11.

E?<Hibi"/' 6

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assignment or sub-letting by operation of iaw shaii be absolutely null and void and shaii, at Lesscr‘s optionl
terminate this Agreement.

F. ALTEFtAT|ONS AND liVlPROVEMENTS. Lessee shall not make the repairs cr improvements on the
i-'»rsrnises or construct any building or make any other improvements on the Premisss without the prior consent
ct !.assor. Any and all alterationsl changes, andlcr improvements bulit, constructed or placed on the Premises
by i.essee shail, be and become the property of Lessor and remain on the Prernises at the expiration or earlier
termination of this Agreement.

5 `i'i.-IRMENAT|ON OF THE AGREEMENT_ in the event Lesscr OR Lessee want to terminate the agreement a
thirty {30) days notice must be provided At that time both parties can void this contract.

ti HAZARDOUS iViATERlALS. i_essee shall not keep on the Prernises any item of a dangerousa flammable or
explosive character that might unreasonably increase the danger of fire or explosion on the Premises or that
might be considered hazardous or extra hazardous by any responsible insurance company.

iii i,i'i’iL|TiES. Lessor shall be responsible for arranging for and paying tor ali utility services required on the
Preir.ises_ materia|s, and taxes for the property

ii MA|NTENANCE AND REPAiR; RULES. Lessee will keep and maintain the Premises and appurtenances in
and repair during the term ct this Agreement and any renewal thereef. L.essee will not hold the Lessor
responsible for any accidents which may occur at the time of repairs. Lessee wiii be responsible to carry
t_iahiiity insurance

ii? SUBORD]NAT|ON OF- LEASE. 'i'his Agreernent and i_essee's` interest hereunder are and shall be

'.\ ~i;crdinale, junior and interior to any and all mortgages, liens or encumbrances now or hereafter placed on the
fj'o:zt~iises by i_essor. ali advances made under any such mortgages, liens or encumbrances iinciucing, but not
irc-ied tc, iuture advances), the interest payable on such mortgages liens or encumbrances and any and ai|

=4- .isvtels` extensions or modifications of such mortgages1 liens or encumbrances

 

iii UEF~AULT. lt l_essee fails to comply with any ot the material provisions oi' this Agreement. other than the
covenant to pay rent, or of any present rules and regulations or any that may be hereafter prescribed by Lessor,
or materially fails to comply with any duties imposed on Lessee by statute, within thirty (30} days after delivery
.:i written notice by i_essor specifying the non-compliance and indicating the intention ci’ Lessor to terminate the
1 ease by reason therecf, i..essor may terminate this Agreement.

iii ABANDONMENT_ if at any time during the term cf this Agreement i.essee abandons the Premises or any
part thereot, Lessor may, at Lessor‘s option, obtain possession of the Prernises in the manner provided by iaw.
and without becoming liable to Lessee for damages or for any payment of any kind whetever.

15. ATTORNEYS' FEES. Shou|d it become necessary for Lessor to em ploy an attorney to enforce any of the
conditions or covenants hereof. including the collection of rentals or gaining possession of the Premlses,
L.essee agrees to pay ali expenses so incurred, including a reasonable attorneys fee.

€*- RECORD!NG OF AGREEMENT Lessee shall nci record this Agreement on the F'ubiic Records ot any
:a-.ebiic oi'iic:e in the event that t_essee shall record this Agreement. this Agreement shali, at L.essor`s option,
-=.a rninate immediately and Lesscr shall be entitled to all rights and remedies that it has at law or in equity

ii SO‘»»'ERN|NG LAW. This Agreement shall be governsd, construed and interpreted by_. through and under
-* s ¢.avvs ot the State ot Pennsylvania.

li §i SEVERAB|L|T¥. if any provision of this Agreement ortho application thereof sha!i, for any reason and to
any e>:tent. be invalid or unenforceable neither the remainder of this Agreemeni nor the application of the
provision tc other persons. entities or circumstances shall be affected thereby, but instead shall be enforced to
tire maximum extent permitted by |aw.

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-19. BlNDlNG E’F`FECT. The covenants obligations and conditions hamm contained shall be b|ndlng on and
nme lo the benth of the heirs, legal representatives, and assigns of the parties hereto

20. MGDlFIC¢¢\-TION. The par-iles hereby agree that thls document contaln§ fha entire agreement between the
par'El_es and this Agmement shall not be mndflled. changad, altered or amended in any way except through a
wrl-flen amendment signed by all £_)f the parties herelo,

lN WITNE,S_S WHEF£E’OF. me partl.es have caused these presents to be duly executed

As to Lessur thls_ 15 day of May, 2012.

Witnes'$es: "l_essorf'

 

 

.»"~.5 10 Le,ssee this_`!__ 'day of _j ,. 1
»--. f_.-

 

Wlmesses: "Lessee“

_.--. .--.............._. ,__ __...,_ .,._ ___-_.__._...._,._.__ __.,_..._ ....

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W mTHERLY ARE‘A ELEMFENTARY S-cHooL

Thnmas McLaughlin Sandra Slavick

Superfntenden! v Elementary Schooi Princz'pal
Home of the Wrecklers

July S, 2012

Dear Mr. and Mrs. R

On May 22 of 2012, you registered you!“!_j\ S _' R funder the guise that :was
soon to reside in Weatherly Are_a School District. The story tha.1:'was shared with the office was
that your family was fixing up the house at 320 Yeakle Street, Weatherly, PA 18255. The
Weatherly Area School District needs more proof that you are indeed residing at this address.
This proof must be provided by Augnst 1, 2012 if S‘ wishes to continue to attend Weatherly
ElementarylMiddie School.

 

:Sandra B. Slavick

l///@ 4»¢;@/§’

 

M""'"
602 Smh St Elememary school orn¢e= 510-427-`8637
wmu.=.-l\, va moon Elementarv School sz: 570-411-8918

E><}'\:bl"l" C»

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Thomas W. McLaughiin ,
Superin!‘endent Bu.s'iness Monoger/Secreimg), Bd. ofEd'ucation
Der:ember 11, 2012
Mrs. H: R-

Dear Nir. & Mrs.

On December 11, 2012, l'spoke to you by telephone regarding the residency of your
5 '. You stated in our conversation that you are residing atthe above address.

in order for your HH"_" to attend the Weatherly Area Schooi District, " ‘ must reside within
the district boundaries. Your current address is outside the district boundaries and your g
should be attending the Hazleton Area School District.

You Wil| need to Withdraw 5 'from our district by Decernber' 21, 2012. Atter this date, : ewill

no longer be considered a Weatherly Area_ School Distrlct student Clnce is enrolled in the Hazleton
Area School District, we will forward all ol reco rds.

Since‘rely,
¢:7"£ ‘, l m gm?£(k,

Thomas W. McLaugh|in
Supe 'intendent

TWM,'tmb
602 Sixrh seed ` Adminisrrarive office Phone¢ 570-427”3631
Weathcrly, PA 18255 Ad::oinisirative Fax'. 570-427-8918

E»<}’\‘l b H' D

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Thoroas W. McLaugh'lin
Superintencfent

 

january 3,.2013

Mr.&lvlrs.l'! 'iR

Dear Mr. & Mrs. R'.

Qn January 2, 2013, l left a message on your voice/rg_a_i| regarding-the residency of your
f 5 . l advised you that 5 needed to enroll in dis:1rict of residence

' Your current address ls outside the district boundaries and your
the Hazleton Area Sl:hool District.

should be attending

As oftoday, January 3, 2013
will not be permitted to attend classes here. Once
" records.

. is no longer.a student in ':he Weatherly Area School District and
we will forward all of

is enrolled in the l-!az.'-eton Area Schoo| District,

tiincerely,

sr 49

'ihomas W. McLaughlin
liS`ujj`EJ:intendent

 
  

 
     
  
   

Csnmed l=¢a\1

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lEna:r:am€“* “’q“" }

‘ d DelTi-'ery_l=se
lafds;nr:;amenl. Raquired]

'\'otni F_’os'looo &Fass -..Si

602 sixth street v
Weatherly, PA 18255

_DM.WJ inice Phone: 570-42?-8681
w 'ett.lm:mseerivesex; 570-427-3918

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Copy lo:__Child Accounting

Weatherly Area School District ;§__:'°"______“"
REGIsTRATION FORM release Pt-ittt) -- " ~

$EIIEH if l.
Fon bruce UsE oNLY:

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Building n _ Grade 7 ` Homeroon'i

entry Dete _ y ney # ` _ _ E.tttty ceae __ _ _ __

Student ID n d l _ Out of DistrictP|_a,cement
PASecurelD 7 Hbliié}é.`$a`

Bt‘te # ‘ step # ' ' ' nunn ` Pielt Up rate
netheete vesseeseet Bc Bept. ` "Heep. Regiettetien ' veened by:

 

 

 

Date Completed / .- 7" Iez _
Student Name . _ 12 `S

L.est F{rst Middle`
Student Date of Birth __ ____ . . _.
studeetAadteee .32,0 gettth t [; _S 4- W»_L voided r.\_t/._ t@’/#_
Mailing Address (if different) _. _ __ _ _ _ _ _
Homc Phone _(_: - '_ j l C¢ll ( ). . , .
student Reetdee With _Q _ _' .,;_e L-f_. __ ____ Re1etiettehtp pa rec n+_§

Please provide the following for federal and state reporting regulations:

 

 

 

 

 

 

 

1)ctty erBitttt _ Ktnis+an_ t’?_/;l _ _ 2)stete erBit-th log __

3) country efeitth U 5 iq _ , 4) ss Nttmbet~ ` _,
s) otede 9 nntry Dete ,. _ e_?_O _l ‘_{ 6) Us Etttty Dttte 1

7) Date First attend K-IZ in PA £@ 2 " t . 8) Date First attend K-12 in WASD

9) ELL

Sex (Check one): Male__ ____ F_e_nsa]e . __

For state and federal reporting requirements, use the following definitions:

Select Pril'nal'y Ethllicity (Choose One): m Hispal‘liC/LatiHO fahy race)
m Non-Hispanic./Latino (any raoe)

Race (Chottse one or more, regardless of ethnicity):|]Amer lnd/'Alaska Native EAsian EPacific Islander
®Caucasian/White EBlack/AfricanAmericen

WASD Regisl:retion 03/14/2012 Pege l of 5

E><h'tbt"/' F

 

 

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Father g H'- - ` '

 

 

Middic

 

 

 

 

 

 

 

 

 

 

 

 

test " ` Ftt'st f

Address 320 __;i»{, °`\¢i¢?»/ g `/' _
Heme Phett{~s .. , ’ _ cell Werlt Pltene 4 _
Mother g . C ____

"'L`ast , Fi'rst _` ‘ P' _ ' M`t'ddle Msidet`t
Address . 330 `LFLK<_, 1 5‘_]' ,
Home .Phond q _ .. _ Cell . Work Phone
Emergency Contact _

Lasr ` ' `First Ml'd`die

Relationship ' l
Add.ress , .. , . _ . . . t '
Home Phone _ _ _ - Cell Work Phone
To whom may the student be released? H . a

 

l

Please answer the following questions:
1) Are you the student's natural parent? Y"ES X _ NO
lf no, what is the relationship to the student?

l .

 

 

2) Is the student court»ordered into any of the following?

Guardianship (1302) . . Foster Care (1305) _ , Group Home (]306)
Long-Tenn Carc __ _ _ Independent Living _ _ Emergcncy Shelter Care

 

 

agency should be provided if available

Ii` the student is under court~order, provide the following information from the court-order. Letter from placing

 

 

a) Who has custody? _

 

 

 

 

 

 

 

 

Court order attached for dependency/Guardianship (not required except in YES __ _ NO
cases of divorce/separation arrangements)
b) Who has guardianship?
c) Who has educational rights? _
3) ls the guardian receiving payment for providing home for child? YES NO
4) Is the evident in non-court ordered emergency shelter care? YES I\O . t
5) ls the student in an informal foster care setting? YES . NO
If yes, name the guardian:
Affidavit on Hle: YES NO

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List all persons residing in the same household as the student registering (Brother-s, Sister-s)

Name

 

_ t ';_t;
~~§ ~i_;

 

_.-.-.-.._-.

Birihdate

 

 

 

 

 

 

 

 

 

 

 

List ali other individuals residing in your household (grandparerrts, aunts, uncles, friends, etc.)

Name

Bi!tltdste

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WASD Regl'stration 03/] 4!20 12

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~l
1) What is the current educational placement grade for the student? . g ':L' _
Please provide copy of report card from most recent educational placement
Copy Attached: YES NO . __

 

2) Is the student identified as a student with special needs and being served with and lndividualized Education
Plan? YES__ _ NO _

3) Date of most recent IEP _ Copy Attached: YES NO

4) Beginni:ng with the most recent, list in order all previous schools that the student has attended:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ l_\lame of School District Narne of School _ Approximate Dat_e
twa/land file limitation
5) Has the student previously attended school in WASD? YES . NO k _
If yes, list grade(s)

 

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Identiilcation must be presented at time of registration Parents must provide driver’s license, PA ID card, or
Automobile Registraticn indicating district residence Guardian must provide copy of legal guardianship with
educational rights. If guardian does not have legal custody, the parent must be present to sign with
identification

Type of Identiflcation: Copy attached (Cheek One): YES X NO

'I'he purpose of this request is to assure that the educational resources of the Weatherly Area School District are
properly and legally allocated. Falsii'lcation of any information or document required for residence verification
or the use of the address of another person may result in revocation of student enrollment In addition to the
above, at least one of the following document(s) must be presented:

 

deed, mortgage, lease agreement or moving permit )(-

utility bills (dees net ittelttde eell phone bill)

 

 

check stubs from wages, public assistance or social security

 

payment cr liability of payment ofrnunicipai and school district taxes

 

 

 

 

Any other relevant documents asked for by adminisn'alion

__ rw-\.

Signature of Parent/Guardian . £; t _ t g

Signature of Agency Representative

 

 

 

Signature of Student
(18 years or older!Emancipated)

 

Signature of Building Principal _ _ _ _ _Date

 

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HOME LANGUAGE SURVE¥*

The Oftice cf Civil Rights (OCR) requires that school districts/charter schools/full day
AVTS identify limited English proficient (LEP) students in order to provide appropriate

language instructional programs for them. Pennsyivania has selected the Home
Language Survey as the method for the identification

School District: Date:
Schuol: ,-
Studcnl’s Nlune: Grade:

l. What ill/was the student’s first language? l 610 j }L§_;l~}

2. Does the student speak n language(s) other than English?
(Do not include languages learned in schooi.)

lJYes B'No
Ifyes, specify the language(e): _ _ .
3. What longuage(s) is/are spoken in your home‘.’ €/l’l 4 l-I-\S_l"t
_J $.

4. Has the student attended any United Sra¢el school in any 3 years during

his/her lifetimo?

miles n lie

Ifycs, complete the following:

Name of School Statc Dates Attcndod

_'Frrela.at{ C/(a_ _ ll/?_ 35 - ,r/_ov/

 

 

 

Pcrson completing this form (il` other than parent/goardian):

Parent/Guardion signature:

*Thc school district/charter school/full day AV'I`S has the responsibility under the federal law to
serve students who are limited English proficient end need Eng|ish instructional services Giv_en this
responsibilily, the school district/charter school/fish day AVTS has the right lo ask for the
information it needs to identify English language Leemers (ELLs]. As part of the responsibility 10

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WEATHERLY AREA SCHOOL DISTRICT
602 SIXTH STREET
WEATHERLY, PENNSYLVANIA 18255

 

 

 

 

PAR.ENTAL REGISTRATION STATEMENT
Student Name 3 h - _ l?t _ _
mate of sixth ' y 7 _ _V _ _ sir crane E? H__
Rarent or Guardian Name ` C: F? l _‘ 7

 

Address ,;§ZO .T% 0»1¢-4_1' ' S“l'~ .W-€£?L`LL~¢ (l;_

Telephone Number _., mls

f

Pennsylvania School Code Section 13-1304-A states in part ”Prior to
admission to any school entity, the parent, guardian or other person
having control or charge of a student shall, upon registration, provide
a sworn statement or affirmation stating whether the pupil was
previously suspended or expelled from any public or private school of
this commonwealth or any other state for an act of offense involving
weapons, alcohol or druqs, or for the wilful infliction of injury to
another person or for any act of violence committed on school property.

Please complete the fcllowing: ~

I hereby swear or affirm that my child was was not
previously suspended or expelled from any public or private school of
this Conmonwealth or any other state for an act or offense involving
Weapons, alcohol or drugs, or for the wilful infliction of injury to
another person or for any act of violence committed on school property.*
I make this statement subject to the penalties cf 24 P.S. Section
13-1304-A(bl and lB Pa. C.S.A. Section 4904, relating to unsworn-
falsification to authorities, and the facts contained herein are‘true
and correct to the best of my knowledge, information and belief.

l-S}I‘gna"hurz of recent or-'t._n.__ n
s1 7 » /,.z

ioats;

* Name of the school from which student was suspended or expelled:
reason for suspension/expulsion; and dates of suspension or expulsion-

(optional]

 

Any wilful false-statement made above shall be a misdemeanor of the
third degree. This form shall be maintained as part of the student's
disciplinary record.

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instant )

Thomas W. McLaughlin ('j David J. Marsiglio, CPA
Superz'ntendent Business Manager/Secretary, Bci ofEducarion
February 26, 2013

Mr. & Mrs. H R'

Dear|Vir. & Mrs. R=

On February 12, 2013, the Weather|y Area School District sent a letter to the Yeak|e Street
address where you claim to be residing. That letter was returned to our district on Februan; 15, 2013
with a notice that the house is vacant

Your current address is outside the district boundaries and your 'shou|d be attending
the Hazleton Area Schoo| District.

As of today, Februsry 26, 2013 is no longer a student ln the Weatheriy Area Schooi District
and will not be permitted to attend classes here. Once -is enrolled in the Haz|eton Area School

District, we will forward all of' .' records.

sincerein

    
 

Thornas W. McLaughlin '

Superintendent
TWM;tmb
602 sixth street ' ' Adminissanve office Phone= 570~427-8681 '
Weaiheny, PA 18255 rasmussenin Fax: 570.427-3918

E><ll) bill ill

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.’E;‘lr\ :',-i'--». _@_ s~.-“

Thornas W. McLaughlin l ' David J. Marsiglio, CPA

Superz'nrsndent Busz‘ness Manager/Secrctmy, B¢i of Educatz'on
Nlarch 28, 2013

Mr. & Mrs. il § R
320 Yeak|e St.
Weather|y, Pa. 18255

Deaer. & Mrs. R

On February 26, 2013, you received notice that your 5 was no longer a student
in the Weather|y Area School Dlstrict.

if this information has changed and you are now living at the above address, you will need to
register your i into our district

Registration takes place in our high school building. Our high school secretary will need a|| of
the required registration paperworlc. The high school number is 570-427-8_521.

Sincerely,_._

Thomas iVl Laugh|in
Superintendent

  

   

602 Sixth Street Administrativc Offtcc Phone: 570-42?-8681
Wcatherly, PA 18255 Administrative Fax: 570-427-89] 8

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A,EHQAVIT OI".IL ;’ R-
COl\/IMONWEAL‘I'H OF -PENNSYLVANIA
1411 ER)UE :
COUNTY OF GMN :
I, H- R being duly sworn, hereby state as follows:

1. I am currently living at 320 Yeal<le Street in the Borough_of Weatherly,
Penn_sylva.nia.

2. l reside there with my Si R . D.O.B.

3. I have previously provided supplemental proof of my residency' m the form of

 

 

4, l attest under penalty of perjury that my child and I currently live at this address
on a full-time basis and that we intend to retain residency at this address in the
Weatherly Area School Distn‘ct throughout this school year and for the
foreseeable future.

 

Sworn to and subscribed

before me this _EZ_ day

of HE& {L l ,2013.

 
   

nis net PUBLIC '

§DMMONWEALTH OF PENNSVLVANIA
, wWIM¢WNHW.-_w!

NOTAR|AL SEAL
BETWAHN HARCHETH lieer Pr:biie
EWQHAZLETDN interns G'oim ni`y“
MyCommissinnEzpnesOcinberi§ 2916

 

 

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Co|iy io:_'__Chil' Aceoummg
___Ouidlmue Counselor

  

Weatherly Area School District

REGISTRATION FORM (Please Print)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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sorry once _ \"'d§) army code Q§\ _
studenrm ` ’;~LVS\ ` `_ ` `o`=.rcnfoi§rrieu=lmm=nr `

I_'ASeeurelD_ _. ‘§\M\E\ l ' Homeless

Bus# " "’""l § Stop# - Run# Pick Up 'I`ime

Birurdaw' yelscarion: 'Bc sept " ' Hosp. negimson "verieed by,'
St"ude`int Néme ga g . 1.

L`lst l l l'F‘ir.'!t ` " ll 'Middle

StudentDete ofB__i_rih m f w_ _ ., _
swdenrAdeless 320 ryan f<.!»cr 5 “/' .vrl/§'ci~#w iii 174
Mailing Address (if different) 7 y 7
Home Phone _ m ._ . _ . 1 Cell (_ }__
student Resides with , ` relationship

 

 

Please provide the following for federal and state reporting regulations:

 

 

 

 

 

 

13 any ufsirrh _ m _J<rn resign 1554 2) stare cranch p film

3) cooney ofBirrh 1111 xi m 1b 4) ss Nmnber

5) Gmd¢ 9 Enuy new 591 9 . 1 6) Us sum mm _ _ _

73 Dare Firsr amend 1442 in PA y s) one Firsr attend 1012 in wAsD
9) ELL

 

Sex (Cheek One): Male*__ Female _\

...._._._,._...__

 

For state end federal reporting requirements, use the following defmitions:

Select Primary Bthnioity (Choose One): m Hispanic/Latino (any raoe)
m Non-Hispa:iic/Latino (any race)

Raoe (Choose one or more, regardless of ethnicity):EAmer Ind/Alaska Native EJAsian EJ`Pacific ISlander
mCauoasiaanhite EBIack/A&icnn Amerioan

E_><f)}bi"} /<

WASD Registratlon 03114/2012 Page l of 5

 

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Father _ . pt `_ Hf

 

 

 

 

 

 

 

 

 

 

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nearest 320 _yMi<'Li St’ _ . _ _
name Phone ` ` g 11 1 _ work rhone
Mrith'e'r - ~ § C 1 a _ . _ 1 __

7 ssi First Middle ' Maiden
Home Phone _ _ 7 Cell _ Work Phone
Emergency Contnct _ 1 .

Lasi ` ` ' First Mlddle
Relationship ~ .. .
Address
Home Phone _7 Cell 77 Work Phone .

Towhommaythestudentbereleased? _/_{/ O_ O"}{_}/

Please answer the following questions: X
1) Are you the students natural parent? YES NO ___
Ifno, whet' is the relationship to the stodeiit?

 

2) ls the student court-ordered into any of the following?
Gual'dianship (1302) . . Fostex‘ Care (1305) 7 _ Group Home (1306) _
Long-Term Care Independelrt Living 7 Emergeney Shelter Care

 

Ifthe student' is under court-arden provide the following information hom the eouit-order. Letter from placing
agency should be provided if availabie.

 

 

 

 

 

 

 

 

 

 

 

 

 

a) Wlio has custody?
Cou:rt order attached for dependenonyuardianship (not required except in YES NO 7 ,
cases of divorcefsepsration arrangements) '
b) Who has guardianship? 7
c) Who has educational rights? 1
3) ls the guardian receiving payment for providing home for ehild? YES NO
4) Is the student in non-court ordered emergency shelter eare? YES NO
5) Is the student m so informal foster care setting? YES _ NO
If yes, name the guardisn: . '
Aff`idavit on i'ile: YBS t NO

 

 

WASD Registretion 03/14/2012 Page 2 of§

 

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List all persons residing in the same household as the student registering (Brothers, Sisters)

Ns.'me _ Birihdate

 

.#__
Cu

C .

 

 

 

 

 

 

 

 

 

 

 

 

 

 

List sil other individuals residing in your household (grandparents, smits, uncles, friends, etc,)
Nsms 1 1 1 1 y B_inhc_iate

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WASD Registretiun 03/] 4!2012 Psge 3 0f5

 

 

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-\’h
1) What is the cia-rent educational placement grade for the student? 3
Please provide copy of report card from most recent educational placement
Ccpy Attached: YES NO _

2) Is the student identified as a student with special needs and being served with and Individualized Bducetion
Plan? YES §§ NO

3) Date of most recent IEP 7 7 _ __ _ Copy Attaehed: YBS NO

4) Beginning with the most recent, list in order all previous schools that the student has attended:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of Sclicol District 7 7 Nanie of Schocl Approximate Dete
Fr-ii,l_qn.rl him _ _ H_n”:»lr,io_»/i_ _ __ 9006 " £C> ll
_5) Has the student previously attended school in WASD? YES ____>_<.____ NO ___
Hyes,-listgrede`[fsj) . Z»“H’l

WASD Regist.'etion 03/14:'2012 Puge 4 of$

 

~."....,... 1..,...."..,.. _.V,

 

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ldentification must be presented at time of registration Parents must provide driver's license, PA ID card, or
Autornobile Registration indicating district residence Guardian must provide copy of legal guardianship with

educational rights If guardian does not have legal custody, the parent must be present to sign with
identification

'Iype of Ideniificetion: _ . _ _ _ Copy attached (Check One): YES NO

 

The purpose of this request is to assure that the educational resources of the Weatherly Area School Disirict are
properly and legally allocated Falsificstion of any information or document required for residence verification
or the use of the address of another person may result in revocation of student enrollment In addition to the
above, st least one of the following document{l) must be prcsentcd:

 

deed, mortgage lease agreement or moving permit

usury bins (does ncr include stephens bin)

check stubs frcrnl wages, public assistance or social security

- payment or liability of payment of municipal and school district taxes
Any other relevant documents asked for by administration

 

 

 

 

 

 

 

 

Slgnature of Parent/Guardian _C '£

 

Signature cf Agency Represcntative

 

Signature of Student _ f _ _
(13 years cr older-remancipnred) '

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